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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-MJ-222 KJN
12                                 Plaintiff,             [PROPOSED] FINDINGS AND ORDER
                                                          EXTENDING TIME FOR PRELIMINARY
13                           v.                           HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   NASSIR MICHAELS,
                                                          DATE: December 27, 2018
15                                Defendants.             TIME: 2:00 p.m.
                                                          COURT: Hon. Allison Claire
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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on November 30, 2018.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27          THEREFORE, FOR GOOD CAUSE SHOWN:
28          1.       The date of the preliminary hearing is extended to January 31, 2019, at 2:00 p.m.

      [PROPOSED] FINDINGS AND ORDER                        1
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 1         2.       The time between December 27, 2018, and January 31, 2019, shall be excluded from

 2 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

 4         IT IS SO ORDERED.

 5 DATED: December 14, 2018

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      [PROPOSED] FINDINGS AND ORDER                     2
